CaSe liOS-CV-OO439-DWI\/| ECF NO. 61-12 filed 01/20/04 Page|D.GlQ Page 1 Of 5

CaSe liOS-CV-OO439-DWI\/| ECF NO. 61-12 filed 01/20/04 Page|D.GZO Page 2 Of 5

1/12/2004 9:09 h M: Fax Koernke _Crampton PC TO: 831-1701 PI )2 OF 005

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_l l-ll: BOARI:)WALK
SUITE 250 l 940 MONROF. NW

january 12, 2004
Via Facsimile

Mr. .lames S. Brady

Mil'ler, johnson, Snell & Cumrniskey, PLC
Calder Plaza Building,

250 Monroe Avenue, NW` Suitc 800
Grand Rapids. Ml 495()1-03()8

Re: Ryan v McGinn-Loomis, et al
Case NO. 1202-cv-439

Dear Mr. Brady:

l am writing in response to your letter to me of Friday, _lanuary 9, 2004. The
letter arrived in our office after the close of business, but we worked over the weekend in
order to have a response in your hands by early this moming. Our clients still have this
afternoon blocked off and are available to be deposed. Our preference would be that the
depositions, if you choose to go forward, be taken here in our offices and that you let my
partner or me know as early as possible whether you do or do not want to go forward
with the depositions this attemoon.

The information in your letter is consistent with the more general discussion we
had l~`riday morning concerning fashioning an approach which (l) would allow us to
satisfy the requirements of Fed. R. C`iv. Pw 26(b}(5). (2) would not unduly inconvenience
counsel or the potential deponents, and (3) would allow for the potential deponents
effectively to assert their judicial privilege Later in this lettcr, we will separately
respond to each of the inquiry categories enumerated on page 2 of your letter. However.
we would like to briefly discuss our analysis of the dimensions ofthejudicial privilege(s)
which our research establishes as applicable

First, we believe the Michigan common law ofjudicial privilege applies regarding
the instant three depositions ln Re_i`crafl v. McDona/d, 194 Mich. 500, 503; 160 N.W.
836 (l9l6), the Michigan Suprerne Court stated the judicial privilege in broad terms
(‘“We are not disposed to narrow or abridge the right of a citizen to make even an oral
complaint before a magistrate charged with the duty of investigating the inattch
complained of...,Such communications are as sacred in the eyes of the law as the
communications between client and lawyer, or patient and physician.’ We think
defendant’s [e)r purie] communication to the probate judge in this case was equally a

matter of absolute privilege."). Second, as .ludge Gardner expressed to you in her recent
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CaSe 1203-CV-OO439-DW|\/| ECF NO. 61-12 filed 01/20/04 Page|D.GZl Page 3 Of 5

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correspondence prior to her retention of counsel, Canon 3A(6) of Michigan’s Code of
.ludicial Conduct directs that “a judge should abstain from public comment about a
pending or impending proceeding in any court_" The C`.anon continues regarding a
judge`s staff members "a judge...should require a similar abstention on the part of court
personnel subject to the judge’s direction and control." Judge Gardner reviewed Canon
3A(()) with her Chief Judge and with the State judiciary’s contact person for ethical
questions Both of those sources advised her that the Canon precluded any comment by
her or by her staff regarding the specifics of the 200] state proceeding (Kent County
Circuit Court docket number 0l-09528-DZ), currently on appeal to the Michigan Court
of Appeals, and out of which the instant federal action arises

Additionally, all of the relevant information which .ludge Gardner or her staff
could provide, were the matter not subject to a prohibition on comment, is otherwise
available to your clients through normal discovery channels. As we understand it, you
have not yet taken the deposition of l\/ls. Adele McGinn-Loomis., the defendant in your
pending federal court action upon whose conduct your clients apparently base their state
action allegations We do not know if you have yet deposed the other defendant in thc
instant action, attorney Mary Benedict. We believe they could answer questions
regarding all or virtually all possibly relevant topics regarding the seeking or the entry of
the initial er parte Order in the 200l Kent County Circuit Court proceeding before Judge
Gardner. Such discovery would not be precluded by thejudicial privilege Also, Judge
Gardner’s recollection of the circumstances surrounding her entry of the ex parte Order
was discussed by Judge Gardner from the bench in ruling upon your clients’ October 15,
200l motion in the state court proceeding seeking Judge Gardner’s recusal ln l`act, a
pleading in the instant federal court action quotes from a letter written in 2002 by counsel
for your clients which summarizes .ludge Gardncr"s October l7, 2001 ruling from the
bench:

l did receive a telephone call from l\/ls. McGinn-Loomis over the dinner
hour on Scptcmber l9, 2001. The length of the conversation I would
estimate to be no more than two minutes The discussion was primarily
to apologize for interrupting me at home and to request whether my
home phone number could be provided to lvls. Benedict.

Presumably, the complete transcripts of the October 2001 proceedings have been
available to your clients and their counsel for over two years. For the foregoing reasons,
it appears that all or virtually all of the information you might seek from .ludge Gardner
and her staff members is readily available to you through discovery which is not
impacted by the broad prohibition against judicial comment about the details ofa specific
state court proceeding

With this in mind, we turn to the areas of inquiry identified on page two of your
January 9. 2004 letterr While any deposition question may be subject to an objection on a
basis other than thejudicial privilege, without waiving any such objections1 the following
is our response asserting the judicial privilege where we believe it relates to the listed
topics ofpotential inquiry:

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CaSe 1203-CV-OO439-DWl\/| ECF NO. 61-12 filed 01/20/04 Page|D.GZZ Page 4 Of 5

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0 The relationships between Judge Gardner and her staff and Adele McGinn-
Loomis.

We believe that, so long as the questions do not relate specifically to Case No. 01-
09528-[)2, this may be an appropriate area of inquiry and our clients would not
assert thejudicial privilege

~ The relationships between Judge Gardiier and her staff and Mary Benedict.

We believe that, so long as the questions do not relate specifically to Case No. 01-
09528-1)2, this may be an appropriate area of inquiry and our clients would not
assert the judicial privilege

v The facts and circumstances surrounding all contacts ex parte or otherwise,
between Judge Gardner and her staff and Adele McGinn-Loomis in regard to
Case No. 01-09528-DZ.

We believe that this area of inquiry would violate Canon 3A(6) of the Michigan
Code of J udicial Conduct and is otherwise privileged Thus. we would anticipate
that Judge Gardner and her staff would assert the privilege to this line of inquiry
By way of further answer, we believe that Judge Gardner has already outlined her
recollection of any September 19, 2001 contact with Ms. McGinn-Loomis in the
.ludge’s October 17, 2001 ruling from the bench on your client’s motion
requesting Judge Gardner’s recusal.

¢ The facts and circumstances surrounding all contacts ex parte or otherwise,
between Judge Gardner and her staff and Mary Benedict in regard to Case No. 01 -
09528-[)2.

We believe that this area 01` inquiry would violate Canoii 3A(6) of the Michigan
C`ode ofJudicial Conduct and is otherwise privileged Thus, we would anticipate
that Judge Gardner and her staff would assert the privilege to this line of inquiry.
By way of further answer, we believe that .ludge Gardner has already outlined her
recollection of any September 19, 2001 contact with Ms. Benedict in the ludge’s
October 17, 2001 ruling from the bench on your client’s motion requesting .ludge
Gardner’s recusal

0 The manner in which Case No. 01-095'28-[)2 was assigned to Judge Gardrier.
This line of questioning may include questions regarding court policies and
procedures relating to ex parte contacts and judicial assignments

We believe that the first sentence of this proposed area of inquiry would violate
Canon 3A(6) of the Michigan Code of Judicial Conduct and is otherwise
privileged Thus, we would anticipate that Judge Gardner and her staff would
assert the privilege in response to the first sentence of this line of inquiry
However, as to the second sentence, we believe that, so long as the questions do

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CaSe liOS-CV-OO439-DW|\/| ECF NO. 61-12 filed 01/20/04

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not relate specifically to Case No. 01-()9528-\)2, this may be an appropriate area
ofinquiry and our clients would not assert thejudicial privilege

An explanation regarding the timing and sequence ot` a set of ex parte orders
signed September 19, 2001. l will not ask rludge Gardncr any questions regarding
her mental processes in deciding to sign these orders But l will ask .ludge
Gardner questions relating to whether she was aware that Case No. ()l -09528-DZ
had not been filed or assigned to her when she signed the orders on September l9,
200l.

We believe that this area of inquiry would violate Canon 3A(6) of the Michigan
Code of Judicial Conduct and is otherwise privileged Thus, we anticipate that

.ludge Gardner and her staffwould assert the privilege to this line of inquiry.

lf. after reviewing our response, you still want to take the depositions of Judge

Gardner, Ms. Fountain, and Ms. lngram, we are willing to accommodate that as a matter
of` courtesy to you and to your clients Thch is some natural tension between the
absolute common lawjudicial privilege7 on the one hand, and, on the other, providing thc
requisite response to your inquiries under Fed. R. Civ, P. 2()(b)(5). Recognizing that
tension, we have attempted to provide sufficient information to satisfy Fed. R. (.`iv. P.
26(b){5). Please understand, however, that by possibly answering some ol` the limited
lines of inquiry set forth above, our clients are not waiving the judicial privilege as to any
other line of questioning

\/'ery truly yours,

KoeRNi<E & CRAMPTON PC

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Page|D.623 Page 5 of 5

